          Case:
       Case     24-20485 Document
            4:23-cv-03556 Document:
                                  871 Filed
                                         Page: 1 Date in
                                            on 10/25/24 Filed:
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                                                                  Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                                )
 DARAIUS DUBASH, and                            )
                                                )
 DR. FARAZ HARSINI                              )
                                                )
 Plaintiffs,                                    )
                                                )
                                                )     CIVIL ACTION NO. 4:23-cv-03556
 v.                                             )
                                                )
 CITY OF HOUSTON, TEXAS;                        )
                                                )
 HOUSTON DOWNTOWN PARK                          )
 CORPORATION;                                   )
                                                )
 OFFICER ROBERT DOUGLAS                         )
 (# 7943), in his individual capacity;          )
                                                )
 OFFICER VERN WHITWORTH                         )
 (# 7595), in his individual capacity;          )
                                                )
 DISCOVERY GREEN CONSERVANCY                    )
 f/k/a HOUSTON DOWNTOWN PARK                    )
 CONSERVANCY;                                   )
                                                )
 and                                            )
                                                )
 BARRY MANDEL, in his individual                )
 capacity.                                      )
                                                )
 Defendants                                     )



                                     NOTICE OF APPEAL


        Notice is hereby given that Plaintiffs in Civil Action No. 4:23-cv-03556, Daraius Dubash

and Dr. Faraz Harsini, appeal to the United States Court of Appeals for the Fifth Circuit from the
        Case:
     Case     24-20485 Document
          4:23-cv-03556 Document:
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September 30, 2024 order and final judgment of the United States District Court for the Southern

District of Texas adopting the Memorandum and Recommendation of the United States Magistrate

Judge (ECF No. 78), granting Defendants’ motions to dismiss, and denying Plaintiffs’ motion for

a preliminary injunction. ECF No. 86.



Dated: October 25, 2024

                                                           Respectfully submitted,


                                                           /s/ John Greil
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        Case:
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                                                        TXSD 10/30/2024
                                                                Page 3 of 3




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                                                           Attorneys for Plaintiffs
                                                           Daraius Dubash and
                                                           Dr. Faraz Harsini

                               CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing instrument has been properly delivered with the
Clerk of the Court on this 25th day of October, 2024 using the CM/ECF system which will send
notification of such filing to the following counsel of record:


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                                                           /s/ John Greil
                                                           John Greil
